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 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                       )
 8                                                   )      2:09-cr-00421-GEB-1
                         Plaintiff,                  )
 9                                                   )
                  v.                                 )      ORDER
10                                                   )
     VI TRUONG,                                      )
11                                                   )
                   Defendant.                        )
12   ________________________________                )
13
14                Defendant Truong moves for suppression of “the evidence seized

15   during    the     execution     of    search    warrants       at   Amador       County    parcel

16   3101011600, site address 25500 Highway 88, Pioneer, CA[, (‘Eng Land’),]

17   and Amador County parcel 031010015-000[ (‘BLM Land’)], and any fruits

18   thereof, be suppressed in any future proceedings.” (Def.’s Notice of

19   Mot. 1:20-23.) Truong also “moves for an evidentiary hearing on the

20   grounds     that    the    affidavit       in       support    of       the    search     of    the

21   aforementioned parcels . . . is unclear as to both probable cause and

22   scope[,]” and “a Franks evidentiary hearing on the grounds that the

23   warrant affidavit suffers from material omissions.” Id. 1:24-2:2. The

24   government opposes Truong’s motion and argues an evidentiary hearing is

25   not required. (ECF No. 107.)

26                “A search warrant, to be valid, must be supported by an

27   affidavit       establishing         probable       cause.    .     .     .    Probable        cause

28   determinations       are   to    be     made    by     viewing      the       totality    of    the


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 1   circumstances set forth in the affidavit.” United States v. Stanert, 762
 2   F.2d 775, 778 (9th Cir. 1985) (internal quotation marks and citation
 3   omitted). “A finding of probable cause warrants ‘great deference’ from
 4   the reviewing court.” United States v. Goossens, 420 F. App’x 665, 666
 5   (9th Cir. 2011) (quoting United States v. Hay, 231 F.3d 630, 634 n.4
 6   (9th Cir. 2000)). The reviewing court “may not reverse such a conclusion
 7   unless the magistrate judge’s decision is clearly erroneous.” Stanert,
 8   762 F.2d at 779.
 9                 Truong argues the affidavit does not establish probable cause
10   since    it    is   based   on   “warrantless      searches   conducted    by     law
11   enforcement.” (Def.’s Mot. 7:15-16.) Specifically, Truong argues “the
12   affidavit provides none of the relevant facts that [would] allow [a
13   court] to conclude that the aerial surveillance was reasonable.” Id.
14   9:11-13. Truong supports this argument by citing authority concerning an
15   individual’s reasonable expectation of privacy in the airspace above his
16   or her property. However, this argument is inapposite since the aerial
17   surveillance described in the affidavit was conducted by BLM agents over
18   BLM   land:    “agents   observed   .   .   .   outdoor   marijuana   plants    being
19   cultivated and they confirmed that this marijuana grow was . . .
20   occurring on land owned by the United States government and administered
21   by the BLM[.]” Id. Ex. A, ¶ 11. Truong also characterizes the July 2009
22   ground surveillance, as a warrantless search; however, this conclusory
23   argument is insufficient to support Truong’s contention. Further,                the
24   affiant avers that the surveillance was conducted on BLM land.
25                 Truong also argues that “the affidavit does not contain any
26   concrete facts to connect the [Eng land] with the BLM land upon which
27   marijuana was allegedly grown. Instead, it attempts to conflate the two
28   parcels with speculation and either vague or conclusory language.”


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 1   (Def.’s Mot. 7:10-13.) Truong further argues “the Affiant relies on
 2   ambiguous and vague language that merely suggests association by virtue
 3   of proximity . . . .” Id. 11:8-10. However, the affidavit states, inter
 4   alia, that during ground surveillance on the BLM land, “[a]gents also
 5   noted that [the BLM] grow site was fed by a sophisticated system of
 6   pipes and hoses running from a large holding tank pool . . . .
 7   Significantly, the tank pool was fed by a new well tank and pump located
 8   on a well site located on the property bordering the BLM land to the
 9   north . . . .” (Def.’s Mot. Ex. A ¶ 13.) The affidavit further states
10   that   “[a]ccording     to     queries   within    multiple   property   databases
11   containing public records, the property on which the well site was
12   located was identified as Amador County parcel 3101011600 . . . and was
13   owned by Martin Lee ENG . . . .” Id. ¶ 14.
14              Therefore,        the   affidavit    provides    specific    information
15   connecting the two adjacent parcels of land. Since Truong has not shown
16   that the Magistrate’s probable cause determination is clearly erroneous,
17   his motion to suppress is denied. Further, since Truong has not shown
18   that there are “contested issues of fact going to the validity of the
19   search . . . in issue[,]” his request for an evidentiary hearing is
20   denied. U.S. v. Walczak, 783 F.2d 852, 857 (9th Cir. 1986).
21              Further, Truong argues a Franks hearing is necessary since
22   “the warrant affidavit is replete with omissions[,]” and there is a
23   discrepancy in the affidavit between the number of plants seen on two
24   separate   occasions.        (Def.’s   Mot.    12:10-18.)   However,    “[t]o   show
25   entitlement to a Franks hearing, the defendant must make specific
26   allegations that indicate the portions of the warrant claimed to be
27   false[; and,] . . . [t]he allegations must be accompanied by a detailed
28   offer of proof, preferably in the form of affidavits.” United States v.


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 1   Kiser, 716 F.2d 1268, 1271 (9th Cir. 1983). Since Truong has not made a
 2   detailed offer of proof, he has not shown that he is entitled to a
 3   Franks hearing. Therefore, Truong’s request for a Franks hearing is
 4   denied.
 5                For the stated reasons, Defendant’s motion to suppress and his
 6   requests for an evidentiary hearing and a Franks hearing are DENIED. In
 7   light of these rulings, the July 13, 2012 hearing date for the motions
 8   is converted to a status hearing.
 9   Dated:     July 12, 2012
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11                                       GARLAND E. BURRELL, JR.
12                                       Senior United States District Judge

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